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                               UNITED STATES DISTRICT COURT

                              NORTHERN DISTRICT OF CALIFORNIA


  NARCISO PRIMERO GARCIA,
                                                    Case No. 20-cv-01389-VC
                 Plaintiff,

          v.                                        REFERRAL FOR PURPOSE OF
                                                    DETERMINING RELATIONSHIP
  WILLIAM P. BARR, et al.,
                 Defendants.



       Pursuant to Civil Local Rule 3-12(c), the above-entitled case is hereby REFERRED to
Magistrate Judge Nathanael Cousins for consideration of whether the case is related to J.L. et al.
v. Cuccinelli, et al., No. 5:18-cv-04914-NC.
       IT IS SO ORDERED.


Dated: February 28, 2020

                                                ______________________________________
                                                VINCE CHHABRIA
                                                United States District Judge
